Case 4:11-cr-40037-SOH Document 2161                Filed 01/11/21 Page 1 of 3 PageID #: 7993




                          IN THE UNITED STATES DISTRICT COURT
                             WESTERN DISTRICT OF ARKANSAS
                                  TEXARKANA DIVISION

 UNITED STATES OF AMERICA                                                            PLAINTIFF

 v.                                 Civil No. 4:11-cr-40037-027

 GARY KENDRICKS                                                                    DEFENDANT
                                              ORDER

        Before the Court is Defendant Gary Kendrick’s Motion for Compassionate Release

 Pursuant to 18 U.S.C. § 3582(c)(1)(A)(i). (ECF No. 2158). The Court finds that no response is

 necessary and that the matter is ripe for consideration.

                                        I. BACKGROUND

        On December 15, 2011, Defendant pleaded guilty to the charge of distribution of cocaine

 base in violation of Title 21 U.S.C. § 841(a)(1). On May 25, 2012, the Court sentenced Defendant

 to 151 months of imprisonment, 3 years of supervised release, and a $300.00 Special Assessment.

        On December 22, 2020, Defendant filed the present pro se motion, seeking a

 “compassionate release” sentence reduction pursuant to 18 U.S.C. § 3582(c)(1)(A)(i) and section

 603 of the First Step Act of 2018 (“FSA”). Defendant states that the virus poses a health risk to

 him. Defendant contends that this health risk warrants granting him a compassionate release.

                                         II. DISCUSSION

        As stated above, Defendant primarily seeks a compassionate release, resulting in a

 reduction of his sentence to time served. The Court cannot grant this request for the following

 reasons.

        Defendant bears the burden of showing that compassionate release is appropriate. United

 States v. Mitchell, No. 5:10-cr-50067-001, 2020 WL 544703, at *1 (W.D. Ark. Feb. 3, 2020)

 (citing United States v. Jones, 836 F.3d 896, 899 (8th Cir. 2016)). Relief is available under the
Case 4:11-cr-40037-SOH Document 2161                    Filed 01/11/21 Page 2 of 3 PageID #: 7994




 FSA if the Court finds: (1) that the requested sentence reduction is warranted due to “extraordinary

 and compelling reasons;” (2) that the sentencing factors set forth in 18 U.S.C. § 3553(a) support a

 reduction “to the extent that they are applicable;” and (3) that a reduction would be consistent with

 any applicable policy statements issued by the Sentencing Commission. 18 U.S.C.

 3582(c)(1)(A)(i). The Court must first determine whether Defendant’s motion is properly raised.

 If so, the Court will reach the above-listed issues.

        As a threshold matter, Defendant must satisfy certain procedural requirements before filing

 a compassionate-release motion. “Before the enactment of the FSA, a motion for compassionate

 release had to be filed by the Director of the [Bureau of Prisons (“BOP”)] and an inmate could not

 unilaterally file one with the court.” Mitchell, 2020 WL 544703, at *1. However, the FSA now

 permits an inmate to seek a compassionate release directly from the sentencing court “after the

 defendant has fully exhausted all administrative rights to appeal a failure of the [BOP] to bring a

 motion on the defendant’s behalf or the lapse of 30 days from the receipt of such a request by the

 warden of the defendant’s facility.” 18 U.S.C. § 3582(c)(1)(A)(i). Defendant bears the burden of

 showing that he exhausted his administrative rights with the BOP before filing a compassionate-

 release motion. United States v. Davis, No. 2:15-CR-20067-SHM, 2019 WL 6898676, at *1 (W.D.

 Tenn. Dec. 18, 2019).

        The BOP has outlined the administrative exhaustion process in its Program Statement No.

 5050.50. In short, a request for compassionate release must first be submitted to the warden of the

 BOP facility the defendant is housed in. 28 C.F.R. § 571.61(a). If the warden approves the request,

 it is sent to the BOP’s general counsel for approval. 28 C.F.R. § 571.62(A)(1). If the general

 counsel approves the request, it is sent to the BOP’s director for a final decision. 28 C.F.R. §

 571.62(A)(2). If the director approves, he or she will ask the United States Attorney in the



                                                   2
Case 4:11-cr-40037-SOH Document 2161                  Filed 01/11/21 Page 3 of 3 PageID #: 7995




 applicable judicial district to file a compassionate-release motion on BOP’s behalf. 28 C.F.R. §

 571.62(A)(3).

        If the warden does not respond to the request, the defendant’s administrative remedies are

 deemed exhausted after thirty days. 18 U.S.C. § 3582(c)(1)(A)(i). If the warden denies the

 compassionate-release request, the defendant must appeal the decision pursuant to the BOP’s

 Administrative Remedy Program. 28 C.F.R. § 571.63(a). If the request is denied by the BOP’s

 general counsel or director, that decision is considered a final administrative decision and the

 defendant’s administrative remedies are exhausted at that time. 28 C.F.R. § 571.63(b-c).

        Defendant states that he has submitted a request for compassionate release to the warden

 and that it was denied, but he did not include that documentation in the present motion. Further, if

 Defendant’s initial request was denied, he must then appeal that decision pursuant to the BOP’s

 Administrative Remedy Program. Thus, the Court cannot find from the record that Defendant has

 fully exhausted his administrative remedies with the BOP before filing this motion. Accordingly,

 the Court must deny Defendant’s motion.

                                        III. CONCLUSION

        For the above-discussed reasons, the Court finds that Defendant has not shown that he has

 fully exhausted his administrative remedies before filing the instant motion for a compassionate

 release. Accordingly, Defendant’s motion (ECF No. 2158) is hereby DENIED WITHOUT

 PREJUDICE.

        IT IS SO ORDERED, this 11th day of January, 2021.

                                                              /s/ Susan O. Hickey
                                                              Susan O. Hickey
                                                              Chief United States District Judge




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